 

 

Case 3:17-cV-OO491-RPC-.]VW Document 123 Filed 02/14/18 Page 1 of 20

IN THE UNITED sTATEs DIsTRIcT couRT FlLED

FoR THE SCHANTON

MIDDLE DISTRICT OF PENNSYLVANIA

FF.B 14 ama
IRVING MURRAY,
m ms
Plaintiff
v. : CIVIL NO. 3:CV-17-491
JOHN E. WETZEL, ET AL., : (Judge Conaboy)
Defendants

 

MEMQBLBDHM
Bagkgroung

Irving Murray, an inmate presently confined at the
Mahanoy Stéte Correctional Institution, Frackville,
Pennsylvania (SCI-Mahanoy), filed the above captioned pgg §§
civil rights action pursuant to 42 U.S.C. § 1983. A second
action initiated by the Plaintiff was previously Consolidated
into this matter.

Named as Defendants in the consolidated filings are
Secretary John wetzel, Health Care Services Director Joseph
Silva and Chief Grievance Officer Dorina L. Varner of the
Pennsylvania Department of Corrections (DOC) and Correct Care
Solutions. Also listed as Defendants are the following
individuals employed at SCI-Mahanoy: Superintendent T.

Delblaso; Major D. Damore; Deputy Superintendent for

 

 

Case 3:17-cV-OO491-RPC-.]VW Document 123 Filed 02/14/18 Page 2 of 20

Centralized Services B. Mason; Grievance Coordinator Jane
Hinman; Unit Manager Kevin Kellner, Keri Moore; Health Care
Administrator John Steinhart; Doctors Courtney Rodgers, Robert
Marsh, Andrew Newton, Paul Noel, and Jay Cowan; Physicians'
Assistants R. Miller and Nancy Palmigiano; Nurse Brenda
Houser; PSS Amber Voekler; and LPM E. Everding.

Plaintiff asserts that he is not being provided with
adequate medical care for his asthma, Hepatitis C,
hypertension, epilepsy, and other health problems. Murray
adds that the alleged withholding of needed treatment and
medications is being undertaken in retaliation for his
affiliation with a high profile prisoner. The Complaint also
raises claims that prison officials have improperly required
Murray to pay for pain medication through the prison
commissary, falsified records, failed to provide mental health
programming, and improperly assigned him to an upper bunk.
Murray seeks declaratory and injunctive relief as well as
compensatory and punitive damages.

Presently pending is a motion to dismiss filed by the
Corrections Defendants. §ee Doc. 52. Specifically, the ten
(10) Corrections Defendants are Wetzel; Debalso; Mason;
Damore, Silva; Kellner; Hinman; Varner; Steinhart; and Houser.

The opposed motion is ripe for consideration.

 

 

F_-_~vv_v-_-__-______'-"-___~'~_"'__-'~_jii
` Case 3:17-cV-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 3 of 20

D' s 'on

` The Corrections Defendants claim entitlement to dismissal

'l
involvement in constitutional misconduct raised against

on the grounds that: (l)there are no assertions of personal
Defendants Wetzel, Debalso, Mason, Silva, Varner, Hinman, and
§ Damore; (2) that allegation of verbal abuse by Major Damore is
insufficient; (3) a viable retaliation claim is not alleged
against Defendant Kellner; (4) Plaintiff fails to state an
actionable claim of deliberate indifference against Defendants
Steinhart and Houser; and (5) Murray's allegations under the
Pennsylvania Constitution cannot proceed.
Sgggg§rg of Review

Federal Rule of Civil Procedure 12(b)(6) provides for the
dismissal of complaints that fail to state a claim upon which
relief can be granted. A court in addressing a motion to
dismiss must “accept as true all factual allegations in the
complaint and all reasonable inferences that can be drawn
therefrom, and view them in the light most favorable to the
plaintiff.” K nter v. B rella, 489 F.3d 170, 177 (3d Cir.
2007)(quoting Ev§ngho v, Fi§her, 423 F.3d 347, 350 (3d Cir.
2005)).

A complaint must set forth facts that, if true,

demonstrate a plausible right to relief. gee Fed. R. Civ. P.

 

 

 

 

 

Case 3:17-cV-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 4 of 20

B(a)(stating that the complaint should include “a short and
plain statement of the claim showing that the pleader is
entitled to relief”); §gll_htl¢_ggrpé_yé_lwgmbly, 550 U.S.
544, 555 (2007). This requirement “calls for enough facts to
raise a reasonable expectation that discovery will reveal
evidence of” the necessary elements of the plaintiff's cause
of action. lg. at 556. A complaint must contain “more than
an unadorned, the-defendant-unlawfully-harmed-me accusation.”
Ashgrgft v. Igbal, 556 U.S. 662 , 678 (2009). “Threadbare
recitals of the elements of a cause of action, supported by
mere conclusory statements do not suffice." _d. Legal
conclusions must be supported by factual allegations and the
complaint must state a plausible claim for relief. gee id. at
679.1

The reviewing court must determine whether the complaint
“contain[s] either direct or inferential allegations
respecting all the material elements necessary to sustain
recovery under some viable legal theory.” ld. at 562; see

also Ehillips v, County of All§gheny, 515 F.3d 224, 234 (3d

Cir. 2008)(in order to survive a motion to dismiss, a

 

1“Factual allegations must be enough to raise a right to
relief above the speculative level, on the assumption that all the
allegations in the complaint are true (even if doubtful in fact)."

Imebly, at 555.

 

y

 

 

Case 3:17-cV-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 5 of 20

plaintiff must allege in his complaint “enough facts to raise
a reasonable expectation that discovery will reveal evidence
of the necessary element[s]” of a particular cause of action).
Finally, it is noted that pro se pleadings must be afforded
liberal construction. gee Haines v K r r, 404 U.S. 519,
520 (1972).
Pers v lv n

The initial argument for dismissal contends that there
are no allegations of personal involvement in constitutional
misconduct raised against Defendants Wetzel, Debalso, Mason,
Silva, Varner, Hinman, and Damore.2

A prerequisite for a viable civil rights claim is that a
defendant directed, or knew of and acquiesced in, the
deprivation of his constitutional rights. gay v. §§t§ggk, 917
F.2d 768, 771 (3d Cir. 1990). This is the personal
involvement requirement. Federal civil rights claims brought
under § 1983 cannot be premised on a theory of respgndeat
superior. Rode v. Dellargipretg, 845 F.2d 1195, 1207 (3d Cir.
1988). Rather, each named defendant must be shown, via the
complaint's allegations, to have been personally involved in

the events or occurrences which underlie a claim. §ee Rizzg

 

2 The Moving Defendants acknowledge that Plaintiff raises

contentions of verbal harassment against Major Damore, a claim
which will be addressed separately.

5

 

l

 

 

Case 3:17-cV-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 6 of 20

LM___de, 423 U.S. 362 (1976); MW

foigigls, 546 F.2d 1077 (3d Cir. 1976). As explained in

Bp_<ie=
A defendant in a civil rights action must have
personal involvement in the alleged wrongs. . .
. [P]ersonal involvement can be shown through
allegations of personal direction or of actual
knowledge and acquiescence. Allegations of
participation or actual knowledge and
acquiescence, however, must be made with
appropriate particularity.

RQde, 845 F.2d at 1207.

Inmates also do not have a constitutional right to a
prison grievance system. See J nes, 433 U.S. at 137-138;
§peight v, Sims, No. 08-2038, 2008 WL 2600723 at *1 (3d. Cir.
Jun 30, 2008)(citing Massey v. Helman, 259 F.3d 641, 647 (7th
Cir. 2001))(“[T]he existence of a prison grievance procedure
confers no liberty interest on a prisoner.”) A prisoner’s
dissatisfaction with responses to his grievances by
correctional officials does not support a constitutional
claim. See also Alexander v. Gennarini, 144 Fed. Appx. 924,
925 (3d Cir. 2005)(involvement in post-incident grievance
process not a basis for § 1983 liability); Prer-El v. Kelly,
892 F. Supp. 261, 275 (D. D.C. 1995) (because prison grievance
procedure does not confer any substantive constitutional

rights upon prison inmates, the prison officials' failure to

comply with grievance procedure is not actionable).

 

,rrfr,

 

 

 

Case 3:17-cV-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 7 of 20

A review of the consolidated actions shows that Plaintiff
is attempting to establish liability against Secretary Wetzel,
Chief Grievance Officer Varner, Administrator Silva,
Superintendent Debalso, Deputy Superintendent Mason, and
Superintendent Assistant Hinman based solely upon either their
respective supervisory capacities or their handling of
Murray's grievances and administrative appeals. There are no
allegations that any of those officials, most of whom are non-
medical personnel,3 were directly involved in the Plaintiff's
medical treatment or housing assignments. Accordingly, entry
of dismissal in favor of Defendants Wetzel, Debalso, Mason,
Silva, Varner, and Hinman on the basis of lack of personal
involvement is appropriate.

Vbrhgl ngg§sman§

The second argument for dismissal contends that the
claims of verbal harassment by Major Damore are insufficient.
§§g Doc. 53, p. 5.

A review of the Complaint shows that Murray maintains
that he was subjected to verbal harassment and threats by

Defendant Steinhart (Doc. 1, p. 10) as well as Unit Manager

 

3 The Court of Appeals for the Third Circuit in Dgrmer v,
0'garrgll, 991 F.2d 64, 69 (3d Cir. 1993) recognized that a non-
physician defendant can not be considered deliberately indifferent
for failing to respond to an inmate's medical complaints when he is
already receiving treatment by the prison's medical staff.

7

 

 

 

 

Case 3:17-cV-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 8 of 20

Kellner and Major Damore (lg. at p. 20). There are no other
discernible claims set forth against Damore.

The use of words generally cannot constitute an assault
actionable under § 1983. gghn§gg_y*_§ligk, 481 F.2d 1028,
1033 n.7 (2d Cir.); Magl§§n v. Segg;, 876 F. Supp. 695, 698-99
(E.D. Pa. 1995); Murray v. Wogdburn, 809 F. Supp. 383, 384
(E.D. Pa. 1993) ("Mean harassment . . . is insufficient to
state a constitutional deprivation."); Pri§gners' Legal A§s‘n
v, Rgbersgn, 822 F. Supp. 185, 189 (D.N.J. 1993) ("[V]erbal
harassment does not give rise to a constitutional violation
enforceable under § 1983.").

Mere threatening language and gestures of a custodial
officer do not, even if true, amount to constitutional
violations. Balliet v. Whitmire, 626 F. Supp. 219, 228*29
(M.D. Pa.) ("[v]erbal abuse is not a civil rights violation .

."), eiild, 800 F.Zd 1130 (3d Cir. 1986) (Mem.). A
constitutional claim based only on verbal threats will fail
regardless of whether it is asserted under the Eighth
Amendment's cruel and unusual punishment clause, see
Prisoner§' Legal B§s'n, 822 F. Supp. at 189, or under the
Fifth Amendment's substantive due process clause.

Verbal harassment, with some reinforcing act accompanying

them, however, may state a constitutional claim. For example,

 

F_.._____iii sims , ii

 

 

Case 3:17-cV-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 9 of 20

a viable claim has been found if some action taken by the
defendant escalated the threat beyond mere words. §ee
Ngrthing§gn v. J§gk§on, 973 F.2d 1518 (10th Cir. 1992) (guard
put a revolver to the inmate's head and threatened to shoot);
Dguglas v, Mgring, 684 F. Supp. 395 (D.N.J. 1988) (involving a
prison employee who threatened an inmate with a knife).
Moreover, alleged instances of verbal harassment which are not
accompanied by any physical contact are constitutionally
insufficient. §§e Hart vI Whalen, 2008 WL 4107651 *10 (M.D.
Pa. July 29, 2008); Wright v. Q'Hara, 2004 WL 1793018 *7
(E.D. Pa. 2004)(correctional officer's words and gestures,
including lunging at prisoner with a clenched fist were
constitutionally insufficient because there was no physical
contact).

There is no indication that the verbal harassment
allegedly voiced against Murray was accompanied by a
reinforcing act involving a deadly weapon as contemplated
under Northingtgg and Douglas. More importantly, it is not
alleged that the alleged verbal abuse was accompanied by any
physically intrusive behavior. Given the circumstances
described by Plaintiff, the purported verbal remarks

attributed to Defendant Damore and other prison officials,

although arguably offensive to Murray, were not of such

 

 

 

 

Case 3:17-cv-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 10 of 20

magnitude to shock the conscience as contemplated by this
COurt in i-_M-_V.._LBl_eild_&QbQQl_Di_S_M_L 148 F- SUPP-?d
542, 547-48 (M.D. Pa. 2001) and thus, did not rise to the
level of a constitutional violation. Dismissal will be
granted in favor of Defendant Damore and with respect to all
allegations of verbal abuse.

Pgnnsylvania S§gtg ggnstitution

Count II of the Complaint seeks to assert a claim for
relief under Section 13 of the Pennsylvania State
Constitution. §ee Doc. 1, p. 32. Corrections Defendants
assert that his claim cannot proceed because there is no
private cause of action for damages against state officials
under the Pennsylvania Constitution. §ee Doc. 53, p. 10.
They add that any claim for equitable relief under the
Pennsylvania Constitution is barred by sovereign immunity.
See __i.<i-

It is well settled that there is no private cause of a
action for damages under the Pennsylvania Constitution. §gg
Po ono in r er h ol v. Pocono M tain chool
Qi§trigt, 442 Fed. Appx. 681, 687 (3d Cir. 2011)(there is no
authorization for an award of money damages for violations of
the Pennsylvania Constitution); Banks v. gity of Ygrk, 2015 WL

4092342 * lD(M.D. Pa. July 7, 2015)(Kane, J.). Accordingly,

10

 

 

 

 

 

Case 3:17-cv-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 11 of 20

the request for dismissal with respect to the damages claim
under the Pennsylvania Constitution will be granted.

The Moving Defendants additionally argue that the
doctrine of sovereign immunity also bar any requests for
injunctive or declaratory relief against state officials.

The Commonwealth of Pennsylvania has not waived immunity
with respect to claims for injunctive relief which are
asserted under the Pennsylvania State Constitution. §ge
Corgi§h v, City gf Philagelghis, 2015 WL 3387052 *9 (E.D. Pa.
May 26, 2015); nggno Mguntain, 442 Fed. Appx at 688
(equitable remedies including declaratory and injunctive
relief are available for claims under the Pennsylvania
Constitution).

Corrections Defendants have not provided the Court with
any authority to support their vague argument that individual
state officials are entitled to sovereign immunity with
respect to claims for injunctive relief raised under the
Pennsylvania State Constitution. As such those claims will be
allowed to proceed at this juncture.

D i ra Indif en

The primary contention of Plaintiff’s action is that he

is not being provided with adequate medical treatment. His

paramount concern takes issue that he should be provided with

ll

 

 

 

Case 3:17-cv-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 12 of 20

a certain medication for Hepatitis C.

A prison official violates the Eighth Amendment when he
acts with deliberate indifference to a known objectively
serious risk to a prisoner’s health or safety. gee farmer,
511 U.S. at 837; Beers-Capitol v. Whetzel, 256 F. 3d 120, 125
(3d Cir. 2001). This requirement of actual knowledge means
that “the official must both be aware of facts from which the
inference could be drawn that a substantial risk of serious
harm exists, and he must also draw the inference.” Farmer,
511 U.S. at 837.

The Eighth Amendment “requires prison officials to
provide basic medical treatment to those whom it has
incarcerated.” Rouse v. Plantier, 182 F.3d 192, 197 (3d Cir.
1999) (citing Est lle v. Gamble, 429 U.S. 97 (1976)). In
order to establish an Eighth Amendment medical claim, an
inmate must allege acts or omissions by prison officials
sufficiently harmful to evidence deliberate indifference to a
serious medical need. See Spruill v. Gillis, 372 F.3d 218,
235-36 (3d Cir. 2004); Natale v. Camden Cty. Correctional
Facility, 318 F.3d 575, 582 (3d Cir. 2003). ln the context of
medical care, the relevant inquiry is whether the defendant
was: (1} deliberately indifferent (the subjective component)

to (2) the plaintiff’s serious medical needs (the objective

12

 

 

 

 

 

 

Case 3:17-cv-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 13 of 20

Component) - …_LM, 834
F.2d 326, 346 (3d Cir. 1987); He§t_ya_§eve, 571 F.2d 158r 161
(3d Cir. 1979).

A serious medical need is “one that has been diagnosed by
a physician as requiring treatment or one that is so obvious
that a lay person would easily recognize the necessity for a
doctor's attention.” M' v L vi, 2009 WL 839011 *7 (E.D.
Pa. March 26, 2009)(quoting Colbgrn, 946 F.2d at 1023);
MQnmouth Cty. CQ;;, Inst, Inmate§, 834 F.2d at 347. “[I]f
unnecessary and wanton infliction of pain results as a
consequence of denial or delay in the provision of adequate
medical care, the medical need is of the serious nature
contemplated by the Eighth Amendment.” Young v. §§;mer§ki, 266
Fed. Appx. 191, 193 (3d Cir. 2008)(quoting MQnmouth Qty. ggrr,

In§t. lnmates, 834 F.2d at 347).

With respect to the serious medical need requirement,
Plaintiff identifies himself as suffering from Hepatitis C,
asthma, and other chronic conditions. Based upon those claims
this Court is satisfied that the serious medical need
requirement has been satisfied at this juncture in the
proceedings.

Under the subjective deliberate indifference component of

§§Lelle, the proper analysis for deliberate indifference is

13

 

 

 

 

Case 3:17-cv-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 14 of 20

whether a prison official “acted or failed to act despite his
knowledge of a substantial risk of serious harm.” farme;_yy
§rennan, 511 U.S. 825, 841 (1994). A complaint that a
physician “has been negligent in diagnosing or treating a
medical condition does not state a valid claim of medical
mistreatment under the Eighth Amendment [as] medical
malpractice does not become a constitutional violation merely
because the victim is a prisoner.” Estelle, 429 U.S. at 106.

When a prisoner has actually been provided with medical
treatment, one cannot always conclude that, if such treatment
was inadequate, it was no more than mere negligence. gee
Durmer v, Q'Carrgll, 991 F.2d 64, 69 (3d Cir. 1993). lt is
true, however, that if inadequate treatment results simply
from an error in medical judgment, there is no constitutional
violation. §ge ig. However, where a failure or delay in
providing prescribed treatment is deliberate and motivated by
non-medical factors, a constitutional claim may be presented.
§gg ig.; Qrdonez v, Yost, 289 Fed. Appx. 553, 555 (3d Cir.
2008) (“deliberate indifference is proven if necessary medical
treatment is delayed for non-medical reasons.”).
§§Qinhart

Corrections Defendants contend that the allegations that

Steinhart directed Murray that he would have to obtain pain

14

 

 

 

Case 3:17-cv-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 15 of 20

medication form the commissary, told him he had to pay for his
own medication, and tampered with the prisoner’s medical
records are insufficient to set forth a viable deliberate
indifference claim.

The complaint includes allegations that Steinhart
fabricated the Plaintiff's medical records including his
diagnosis; stated that Murray would not be allowed dictate the
type of medication he receives and that the Defendant didn't
care if the Plaintiff died. Doc 1, p. 10.

lt is also alleged that after Plaintiff was injured from
a fall from a top bunk bed, Steinhart denied him needed care
for chronic pain. §eg Doc. 1, p. 18. The Coplaint also
asserts that Murray denued hepatitis testing, asthma inhalers
and pain medication.

Based upon a review of Plaintiff's allegations against
Health Care Administrator Steinhart they are sufficient to
withstand scrutiny on a motion to dismiss. It is particularly
noted that requiring payment for medical care is no a per se
constitutional violation. However, because this Court has not
been presented with opportunity to review Plaintiff's relevant
medical records, determinations regarding Murray's condition

need for treatment and what treatment was provided cannot be

reached. As such, it simply cannot be determined on a motion

 

 

Fv______””””"____t___*_______v___t~_____mtv_tv____v””ttttttvmt-v_~v“v"-“-_------
Case 3:17-cv-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 16 of 20

to dismiss as to whether a cognizable claim of deliberate
indifference has been stated. Steinhart's request for
dismissal will be denied.

Hougg£

l
l
1
Corrections Defendants correctly note that Plaintiff alleges
1

§ that defendant Houser was deliberately indifferent to his
\ medical needs by denying him a flu shot. See doc. 53, p. 9.
They argue that Houser is entitled to entry of dismissal
because he has not made a showing that he suffered from the
denial of the flu shot.

Plaintiff identifies himself as suffering from Hepatitis
C, asthma, and other chronic conditions. He contends that
Houser denied him a flu shot because he was not a new parole
violator. See Doc. 1, p. 14. Based upon the assertion that
that Murray was denied a flu shot dfor a non-medical reason
and despite suffering from serious chronic medical needs, his

claim against Houser is sufficient to withstand scrutiny on a
motion to dismiss.
Retal;g;ign

It is alleged that Unit Manager Kellner retaliated
against Murray for filing administrative grievances and his
affiliation with another prisoner by denying him mental health

programing. See Doc. 1, p. 19. Specifically it is alleged

16

 

 

 

Case 3:17-cv-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 17 of 20

that Kellner and Psychologist Voelker had Plaintiff
transferred to a different housing unit so that he would be
ll denied mental health programming.4

Corrections Defendants maintain that a viable claim of
retaliation has not been asserted since Murray does not
identify what specific grievance or lawsuit triggered tha
alleged retaliatory action. Given the liberal treatment
afforded to prc §§ litigants, the Plaintiff has arguably set
forth a viable claim that his exercise of constitutionally
protected conduct was a substantial or motivating factor for
his transfer to a different housing unit.

To establish a 8ection 1983 retaliation claim, a
plaintiff bears the burden of satisfying three (3) elements.

First, a plaintiff must prove that he was engaged in a

constitutionally protected activity. Rauser v, ngn, 241 F.3d
330, 333 (3d Cir. 2001). Second, a prisoner must demonstrate

that he “suffered some ‘adverse action' at the hands of prison

officials.” (ld.)(quoting Allah vz §eiverling, 229 F.3d 220,

225 (3d Cir. 2000)). This requirement is satisfied by showing

 

4 The Complaint also includes a claim that Kellner refused to

provided Plaintiff with a lower bunk bed assignment despite the
fact that he suffered from epileptic seizures and failed to have
him immediately taken for treatment after he fell from his top bunk
following a seizure. gee Doc 1, p. 17. Those unaddressed claims
llwill proceed. '

17

 

 

 

Case 3:17-cv-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 18 of 20

adverse action “sufficient ‘to deter a person of ordinary
firmness’ from exercising his First Amendment rights.”
(ld.)(quoting §uppon vl Dadgnna, 203 F.3d 228, 235 (3d Cir.
2000)). Third, a prisoner must prove that “his
constitutionally protected conduct was ‘a substantial or
motivating factor’ in the decision to discipline him.”
Rapser, 241 F.3d at 333-34(quoting M unt H 1 h . of Educ.
v. Dgyle, 429 U.S. 274, 287 (1977)).

The mere fact that an adverse action occurs after either
a complaint or grievance is filed is relevant, but not
dispositive, for the purpose of establishing a causal link

between the two events. gee Lape v, Pennsylvania, 157 Fed.
App'x. 491, 498 (3d Cir. 2005). Only where the facts of a
particular case are “unusually suggestive" of a retaliatory
motive will temporal proximity, standing alone, support an
inference of causation. Krog§e v, Amerigan St§rlizer Qo,, 126
F.3d 494, 503 (3d Cir. 1997).

Once Plaintiff has made a prima facie case, the burden
shifts to Defendants to prove by a preponderance of the
evidence that they “would have made the same decision absent
the protected conduct for reasons reasonably related to

penological interest.” garter v. Mg§rady, 292 F.3d 152, 158

(3d. Cir. 2002)(internal quotation and citation omitted).

18

 

 

 

 

 

 

Case 3:17-cv-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 19 of 20

When analyzing a retaliation claim, it must be recognized that
the task of prison administrators and staff is difficult, and
the decisions of prison officials require deference,
particularly where prison security is concerned. Ra s r, 241
F.3d at 334.

As noted in gliah, a prisoner litigating a retaliation
claim need not prove that he had an independent liberty
interest in the privileges that he was denied. Thus, the
relevant inquiry is not whether the alleged retaliatory
conduct was unconstitutional. On the contrary, Plaintiff only
needs to establish that he was subjected to adverse action in
retaliation for his engagement in constitutionally protected
conduct.

The pro se Plaintiff alleges that after filing multiple
grievances pertaining to his medical treatment and because of
his affiliation with a political prisoner, he was subjected to
a retaliatory cell transfer. Attached to the Complaint are
copies of multiple grievances initiated by Murray. Since this
argument is presented in a motion to dismiss, Corrections
Defendants have not provided this Court with sufficient facts
to warrant a determination that Plaintiff would have been
subjected to a cell transfer even if the inmate had not

engaged in any constitutionally protected activity.

19

 

F,__"____'___i "7'

 

 

Case 3:17-cv-00491-RPC-.]VW Document 123 Filed 02/14/18 Page 20 of 20

Given that the prg se Plaintiff contends that it was a
combination of actions including the pursuit of multiple
grievances (constitutionally protected activity) which led to
the purported retaliation many of which are attached to the
complaint, his failure to specifically identify the underlying
grievance(s) does not warrant dismissal of this claim.

Since the Corrections Defendants have not satisfied their
burden of showing that their actions would have been taken
regardless of Plaintiff's submission of a grievances or his
relationship with another inmates who is identified by name in
the complaint, the request for dismissal of the retaliation
claim against Kellner will be denied.

Conclusign

In conclusion the motion to dismiss will be granted in
part. Dismissal is GRANTED in favor of Defendants Wetzel,
Debalso, Mason, Silva, Varner, Damore, and Hinman. The claims
against Defendants Houser, Kellner, and Steinhart will

proceed. An appropriate Order will enter.
/

) /`, .
w rif ?“ 6 w //

dIcHARD P. coNhBOY '\
United States District Judge

 

\
DATED: FEBRUARY )z, 2017

20

 

 

